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II.            BasisforJurisdiction

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 Case 9:25-cv-80521-RLR Document 11 Entered on FLSD Docket 05/08/2025 Page 5 of 52


ProSc2(Rcv.12/l6)Compl
                     aintandRcqurstrorlnjunction                                                                                                                               .



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IV.     IrrepârableInjury
        Explainwhymonetarydamagesatalatcrtimewouldnotadcquatcly compcnsateyouforthcinjuriesyou
        sustained,are sustaining,orwillsustain asaresultoftheeventsdescribed above, otwhy such colùpensation
        could notbe measured.                                                                                '
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V.      Relief

        Statebriefly and prccisely whatdamagesorothcrreliefthe plaintiffasksthccourtto order. Do notmake lcgal
        argumcnts.Includcany basisforclaiming thatthc wrongsallcged arc continuing atthe prcscnttimc. Includc'
        theamountsofany açtualdamagesclaimed forthe actsalleged and thebasis forthese amounts. Includeany '
       punitive orexemplary dam égesclaimed,theamounts,and the reasonsyou claim you areentitled to actt
                                                                                                      zalor .
       Punitive money damages.                                                                              '




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Case 9:25-cv-80521-RLR Document 11 Entered on FLSD Docket 05/08/2025 Page 6 of 52


ProSc2(ltcv'
           .12/16)ComplaintandReqtlestforInjunction                                                                    . ..
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Vl.      Certitk ation and Closing

         UnderFederalRule ofCivilProcedure 1l,by signing below,lcertify to thebestofmy knowledge.informationi
                                                                                                            ,
         andbcliefthatthiscomplaint:(1)isnotbcingprescntcdforanimpropcrpurpose,suchastoharass,cause                I
         unnccessarydelay,ornecdlesslyincrcasethecostoflitigation;(2)issupportcdby existinglaw orbya               ;
         nonfrivolousargulnentforextending.modifying,orrcversingcxistinglaw;(3)thcfacmalcontentionshavc            !
         evidcntiary supportor,ifspccifically so idcntificd,willlikely havc cvidcntiary supportafterarcasonable
         opportunityforfurtherinvcstigationordiscovcry;and(4)thecomplaintothcnvisccomplieswiththe
         requirementsofRule 11.

         A.       For PartiesW ithoutan Attorney                                                                   i

                  Iagrccto providcthc Clerk'sOfticewith any changesto my addresswhere case-related papersm ay be
                  served.lundcrstandthatmy failurcto kcepacurrcntaddresson filcwiththeClerk'sOfficcmay rcsutt
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                  Signam reofPlaintiff
                  Printed NamcofPlaintiff

         B.       ForAttorneys

                  Datcofsigning:


                  SignatureofAttorney'
                  Printed NameofAttorney
                  BarNumber
                  Name ofLaw Finn
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Case 9:25-cv-80521-RLR Document 11 Entered on FLSD Docket 05/08/2025 Page 7 of 52




                         UM TED STATES D ISTRICT COURT
                      OF TH E IITH D ISTR ICT O F FL OR ID A

                                 M IA M ID IV ISION


  A lfred D avis,                              Case N o.:25-CV-80521
     Pçtitioner,                               R eferenced from case
                                                number1:24-CR-20456-Jà-1
  M arkenzie Laponte,Et.A I-.'        l
    Respondentts).


                            A M EN D ED SW O R N O A TH
              D E C LA M TIO N A FFD AV IT O F PR O SE A lfred D avis


     1. 1nm over 18 years ofage.
     2. lreside in M iam iFlorida atal1tim es.
     3. They said they were investigating usfortheJan.6thInsurrection Casethe
        FB1A gentA dam W einstein called and said to M icahielNichloson r ho
        answeredthephoneand saidhewasAdam W einstein 9om theFBfand1am
        investigating the Jan.6thInsurrection incidentand then they ask to speak to
                               ;
        M ichaelA K A M aurice Sym onette the FB lA gentW einstein said to M atuice
        Sym onette said thathe w as investigating the Jan.6thCase forlnsurrection
        and askedmedidm eand theBrothersgointotheU.S.CapitalExh.(l)and
        Exh.(J),Then theFBlAgentAdnm W einstein wenttoAlfred Davis'soffice
        and askedA lfred D avisdid he know who thesepeople were in thepictures
        ofthis.book thep he show ed him a book w ith pictures ofthe B lacks For
        Trum p brothers M aurices Sym onette Em ique Tanio and the proud boys,but
        A lfred Davisw ouldn'ttalk to them and said speak to hisLaw yer,Then FB1
        AgentW einstein Arrested him on a statecharge ofcounterfeitaccess
        M achine and when the Brothersand sisterw entto CourtforAlfred Davis
A
        Case 9:25-cv-80521-RLR Document 11 Entered on FLSD Docket 05/08/2025 Page 8 of 52




                they w ould notletusw ear ourB lacksForTrum p T-shirts even though other
                Judgessaid we could w earitin the Courtroom On 05/06/2025,Iw asforced
                to trialforCounjerA ccessD evice,and found guilty butJudgeM artinez
                exclaimed in courtthatheD isagreed with theJury and didn?remandAD to
                Jailas requested by Prosecutor Jonathan Bailyn Judge said l'm doing my
                                     I
                own w ith no evidence Iym doing my own D irected l@r#i.
                                                                      c/on July 11gg2024,
                and leavingAk edDavisoutonBond becausetheProsecutordid not
                PROVE theirCase,broughtno evidence (CounterfeitDeviceM achine)and
                no WitnesspointedoutAljbedDavisforanything!A11in violationof

             4. TRUMPS EM CUTIVE OADFA SECTION 301 OF TITLE 3 UNITED
                STATES CODk

                Andnow FBlAgentAdam Weinstein ishidingfrom Trump because
                Trump O rdered allFB lAgents who worked on the Insurrection Case
                F ired and so now M aurice Sym onette is a W histleblower on him

             5. Buton July 10th w edijcovered thatthe Gov.took theJudge'sStatêm entout
                                                                                     '-
                                                                                     .
                and ILLEGA LLY CH ANG ED TH E TRANSCU T ofJudge Jose E.
                M artinez to say ççl'm inotsure Ithink there's enough issue in this case that1
                                               .
                                                                     '           .


                think1'11lethim outuntil,atthevery least,untilsentencinf'.(Ju1y 1lth),
                Exh.A.theTranscriptand Exh.B.which istheA ffidavitsofthosew ho
                heard Judge M artinez'srealwords.And when F eordered the in CourtVideo
             6. On 10/15/2024,an indictm entw asfled againstm eby M arkenzy Laponte,
                forseveralalleged crim inalacts.5U .S.C 3331w ebelieve Lapointe wasnot
                an A i erican Citzen.
             7. Thecourtdid nothave an G rand Jury W arranttheG ov.ora GR A.      ND
                JU RY IN D IC TM EN T in violation ofM andatory G rand Jury M inutesExh.
                (C)orFederalRulesofCivilProcedure6and7'thiscomplaintfiledagainst
                Alfred Daviswithoutatruebilland orindictm entuntilafterhew ascharged.
             8. A lfred D avis w asrievergiven a copy of any w arrants or indictm entsby a
                grandjury.                                                           ,
                                                                                     j
             9. The C otzrts and its ageùts prosecuted A lfred D avisunder directcoriflictof
    *           interest.W ith ProsecutorD istrictAttom ey M arkenzy receiving $2m i11ion in
     Case 9:25-cv-80521-RLR Document 11 Entered on FLSD Docket 05/08/2025 Page 9 of 52




               M ortgagesand $615,000 in Cash 9om U .S.Bank and it'sae iates,A very
               seriousConflictofinterest.Exh.(D).U.S.Bank isownedby the(C1C)
               which isChina.JudgeBecerrareceived $150,0009om U.SBnnk,Exh.(E).
               U.S.Bank isownedbythe (C1C)which isChinaExh.(L).JudgeBecerra
               received $150,000 9om U.SBnnk,Exh.(E).ProsecutorJonathan Bailyn is
                           .


               the only Prosecutoram ong the 380 Prosecutorsand PublicDefendersthat
               doesnothave linancialD isclosure Statem ents outof4 pgsofover380
               Prosecutorsand PublicD efendantswe wentthrough a11ofthem 9om 2020
               untilnow and Jonathan Bailyn hasnone in violation of5CFR part2634 and
               Subpart1OGE Form 450,Exh.(F)soyou can see.

            9. JUDGES W ITH A CONFLICT OF INTEREST FRO M DEUTSCH E BAN'K W ITH
               US BANK AGAIN ST ALFRED DAW S FOR US BANK FOR TH ESE EHIBITS
               SEE GODS2.CO M #1B



1.SARAH 1.ZABEL 4/7/09-----------------------------------------------m ade 9 M -
                                                                               ltl'
                                                                                  lon from US BAN K

2.VALERIE M AN N O SC H URR 1/21/22--------------------m ade atm ost12 M ittion from US BAN K

3.JO H N SC H LESING ER 12/19/2017-----------------------m ade atm ost29 M ittion from US BAN K

4.SAM ANTHA RU IZ C O H EN 5/12/2021------------------------m ade over2 M ittion from US BAN K

5.M IG U EL D E LA O 1/9/2019----------------------------------m ade atm ost lM ittion from US BAN K

6.VERO N ICA DIAZ 6/2/2020---------------------------------m ade atm ost1/2M ittion from US BAN K

7.VIV IA N NE D EL RIO 5/4/2022-------------------------------m ade atm ost2 M ittion from US BA NK



       CLERK OFTHE COURTS HARVEY RUVIN AND JUAN FERNANDEZ-BARQUIN




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          Case 9:25-cv-80521-RLR Document 11 Entered on FLSD Docket 05/08/2025 Page 10 of 52




 5.(;LERK Fj/kRVEY RuvjN.-....-...-.-------.-.-.-..-.----------------rnade$315,000frorn(JS BANK
 6                                                                                  lK
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        CLERKJUAN FERNANDEz-BARQuIN----------------------------made$635,000from usBAj

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        APPELLATEJUDGESW ITH A $ CONFLICTOFINTERESTW ITH U.S.BANK N.A.                        !
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j.$ROW NV N (;,jjjkuYR.............................................ynaégSgsygUUjro6n (J$ $AN$

2.KEà/jjkjjltijj/kELEjjAs-----.-..-..-...................----..-.-----.rnadeSzzsya10frornLJS BANK




        DADE FEDERALDISTRICTJUDGES W ITH A $CONFLICTOFINTERESTW ITH U.S.BANK
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4. FEDERALJUDGERoool-yo RuIz----------------------------------m ade$2s0,000from Us BANK

s.FEDERALJUDGEJOSEMARTINEz----------------------------------made$2so,oo0from us BANK

6.BANKRUPTCYJUDGELAURELIslcoFF ------------------------m ade$1s,o0o from Us BANK




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     Case 9:25-cv-80521-RLR Document 11 Entered on FLSD Docket 05/08/2025 Page 11 of 52




7.FEDERALMAGISTRATEEDUARDO sANcHEz-----------------m ade$2s0,000from Us BANK



8. 131 Judges w ere fotm d guilty of ConQicts ofinterest.

   11.131 Judges w ere fotm d guilty of Conflicts ofinterest.G O O GLE N Y TTM ES
   12.ProsecutorJonathan Bailyn isthe only Prosecutoram ong the 380 Prosecutorsand
      PublicD efendersthatdoesnothave fm ancialD isclosure Statem entsoutof4 pgsof
      over380 Prosecutors and PublicD efendantsw ew entthrough allofthem 9om 2020
      tmtilnow and Jonathan Bailyn hasnonein violation of5CFR part2634 and Subpart1
      OGE Form 450,Exh.(F)soyou can see.
   13.Andpursuantto 28U .S.C SS 455underSS 455(a),Recusalismandatory in any
      procedurewheretheJudge'spartialitymightbequestioned and (b)aJudgeis
      expected to disqualify him selfw heneverany ofthe 5 stam torily prescribed criteria can
      be shown to existin fact;even ifno m otion and am davitseeking such reliefhasbeen
      filed ifare% onableperson who willquestion the Judgesim partiality here'sthe other
      reasonsSS 455(d)of28U.S.C.and SS 455 (d)(4)ifaperson hasfmancialinterest
      m eansofownerslzip ofaleadable ortmequitable interesthow eversm all. F1.Stat.
      112.312 (8)(9)saysthatthereistobeno ContlictofInterestwith theJudge and tlze
      PlaintiF againsttheD efendants.These are a11the Judges conspiring to take otlr
      property and putourcom pany BossGroup M inistriesVicePresidentand Tre% ure in
      Jailto takeourProperty because China and D evelopersw antsthelAcreW atergont
      Property especially afterGov.D eSantissigned theL1V LOCAI,ACT allow ing you to
      build ninehom esoranA partm entBuilding on the Property.
   14.W eD em and to see and exam ine theirOathAttorney GeneralM arkenzy Lapointe,U .S.
      A ttom ey Jonathan BailynoFBlA gentA dam W einstein,Judge Jaqualine Becerraa
      M agiskate Eduardo Sanchez and JudgeJoseE.M artinez ltisOATH OF OFFICE and
      we dem and lzisproofofCitizenship because wehave fotm d 30 peoplein oG ce who
      werenotcitizensin violation ofthethe 1938 Fara actwhich saysthata11Foreipz
      Bankshaveto a Foreign Regiskation License because,A l1law yers,Attom ey
      Generals,and Judgesm ustbeRegistered as aforei> agentswith FAltA 1Dem and to
      see theirFA ltA D O CU M EN I'S orthisis Tre% on.




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             Case 9:25-cv-80521-RLR Document 11 Entered on FLSD Docket 05/08/2025 Page 12 of 52




    15.The C ourts and itsagentsneverm etthe burden ofproving theircase as stated by the
         trialjudgeverbatim :&ç1am notremandinghim tojail,ldisagreewiththejury because
         '



         youguysdidnotPROVE yourcase.YoubroughtnoEVIDENCE,(nocounterfeit
         Accessdevicemachine,dtwhich iswhathewaschargedwith''),andyouhadno
*        W ITN ESSES TO ID EN TIFY A LFR ED D AV IS.NN
    l6.AlfredDavisbelievesthereareno grandjurywarrantsandgrandjuryindictments
         filed ip hiscase.Becausewe ordered the wholeD ocketand show sno Grand Jury
         W arrantor signed lndictm ent

    17.And it'snotthereJusttheU .S.Attorney Signing thelndictm entand blotting outthe
             GrandJuryForeperson.Grand1uryM inutesNo documentsorgrandjurymiputes
     .
             were everfurnished undertheBèstEvidenceRule and Discovery Doctrine.'
    18.Jurisdiction hasbeen invoked enforcing the authority ofH onorable PresidentD onald
       Trump ExecutiveOrder#301Title 3 EN DING W eaponization oftheFederal
       Governm ent.SeeExh.(çG''.W hereas,the governm entagentsand orofticershave
      (w eaponized the1aw and used itto causeharm and detrim entto W eThePeople
       B LA C K S FO R T R U M P !
    19.InStarbucksv.M cKinney,theSu/remeCourtoftheUnited Statesclaritiedthe
             standardforinjpnctivereliefunderSection 10()oftheNationalLaborRelationsAct
             (NLRA ortheççAct'').The9-0 decision,authoredby JusticeThom as,withJustice
             Jackson concuning in thejudgm entanddissentinginpart,heldthatappropriate
             standardisthefour-parttestforpreliminaryinjunctivereliefarticulated in Winterv
             NaturalResourcesDefenseCouncil,Inc.555U.S.7(2008).Thattestrequiresthe
             party seekingtheinjunctionto show ççgl)heislikelytosucceedonthemerits,(2qthat
             heislikelytosufferirregarableharm (JAIL)intheabsenceofpreliminaryrelief,(3j
             thatthe'balanceofequitlestipsin hisfavor,and (4jthatan injunction isinthepublic
             interest''Winter,555U.j.,at20,22.Thisrepresentsasignifcantchangea:d one
             thatislikely tomakeitm oredifvcultfortheNationalLaborRelationsBoard(NLRB
             ortheiiBoard'')toobtain injunctivereliefwhileanunfairlaborpracticeclaim isbeing
             litigated.W hereasAlfred Davisseeksinjunction topreventthecourtsfrom illegally
             m oving forward to a trialwithouthonoring a11ofAlfred Davisdueprocessguarantees.
          To wit.Production ofrequestforrecordings(trialtranscriptsand hearingrecordings)
         6and courtrecords(grandjury wanantsRule6& Grand JurylndictmentsRule7).
             Dutiesand powersofthe Grand Jury:

             W hilegrandjuriesaresom etim esdescribedasperforming accusatory and
             investigatory ftmctions,thegrandjury'sprincipalfunction isto determinewhetheror
       Case 9:25-cv-80521-RLR Document 11 Entered on FLSD Docket 05/08/2025 Page 13 of 52

ï


       notthere isprobable cause to believe thatone orm ore persons com m itted a certain
       Federaloffense within the venue ofthe districtcourt.Thus,ithasbeen said thata
       grandjury hasbuttwofunctions- to indictor,in thealtemative,to rettu'n a''no-
       bi11.''See W right,FederalPracticeand Procedure,Crim inalSection 110.

      Atcommonlaw,agrandjury enjoyedacertain powertoissuereportsallegingnon-
                                      '

       criminalmisconduct.A specialgrandjuryimpaneledunderTitle18U.S.C.#-3331is
     w authorized,onthebasisofacriminalinvestigation (butnotothem ise),to fashion a
       reporqpotentially forpublicrelease,concerning eitherorganized crim econditionsin
       the districtorthenon-crim inalm isconductin office ofappointed public officersor
       em ployees.This is discussed atJM 9-11.300 and JM 9-11.330.See Jenkins v.
      JM cKeithen,395U.S.411,430(1969);Hannahv.Larche,363U.S.420(1960).
       W hetheraregulargrandjuryenjoysacomparableauthorityto issueareportisa
       difficultand complex question.C/ UnitedStatesv.Briggs,514F.2d794 (5th Cir.
       /975).TheCriminalDivision oftheDepartmentofJusticeshouldbeconsultedbefore
       any grandjury reportisinitiated,whetherby aregularorspecialgrandjury.See
       also JM 9-11.330.'5

    20.W here a litigantcan prove thatan officer ofthe courtfraudulently coerced or
       im properly intluenced the im partialnature ofthe court,fraud on the courtcan be
       established.SeeBulloch VtUnited States,721F.2d 713 at718 (10th Cir.1984);
       U .S.Aftorney M arkenzy Laponte filed an indictm entand signed itw ithouta grand
      jury decisionviolatingAlfredbgvisFifthAmendmentRightandthecourtsêre
     * m oving forward despite the violation and deprivation ofA lfred D avis rights.This is
       proofthe U .S.Attorney influenced theimpartialnatureofthe court,ifintluence was
       notmadeAlfredDaviswould notseekinjunctivereliefand ortemporaryrestraining
       orderbecausedue processw ould preventthecase from m oving forw ard to a trial.
    21.
      ,'V ajudgedoesnotcomply with theconstitution,then hisordersarevoi4 SeeIn.Re
       Sawver.8S.Ct.482 (1888,),heiswithoutjurisdiction to act.lfacourtactswàerethey
       pidnothaveauthority toactthecourtordersarenullandvoid.SeeElliotVtPiersol,
       26U.S.328,340 (1828)(Courtsareconstitutedby authority,they cannotactbeyond
       thepowerdelegatedtothem .lfatourtactswithoutauthority,injudgementsand
      orders are regarded as nullities.They are notvoidable,butsim ply void;and form no
      barto arem edy soughtin opposition to them ,even priorto reversal.They constitute
      nojustitication;anda11personsconcernedin executing suchjudgem ents,orsentences,
      areconsidered,in law,astrespassers.'')BassoVkUtah Powerand LiehtCo.,495
      F.2d 906,910,United StâtesVJThrockm orton,98U.S.61,25L.Ed.93(Ftm ud
             Case 9:25-cv-80521-RLR Document 11 Entered on FLSD Docket 05/08/2025 Page 14 of 52



                                                                                        ,
                                                                                        ?
      *vitiatesthe m ostsolem n contracts,docum ents, andevenjudgements.'')which applies
       tothiscase.TheCourtandU.S.AttorneyM arkenzyLapontedidnothavesubject
       matterjurisdiction orjurisdictionto hearanddecidethecasebecauseagrandjury did
       notissuean indictment.Federallaw requiresagrandjury indictmentforawirefraud
             chargeto be filed in federalcourt.Thisisaconstitutionalrequirem ent, asthe Fifth
             A m endm entto the U S Constitution statesthatno person shallbe held to answ er for a
             capital,orotherwise infam ouscriine,unlesson apresentm entorindictm entofa
             G rand Jury.

             H ere'sa m oredetailed explanation:

             G rand Jury Indictm ent:
             A grandjuryisagroup ofcitizens(typically 16-23)convenedby afederaljudgeto
             investigate crim inalalleg:tionszThey review evidencepresented by federal
       prosecutorsto determ ine iftherersenough evidence to charge som eone w ith #
                                            .                                     a'crim e.lf
     % they find enough evidence,they issuean ''indictm ent,''which isaformalaccusation.
       FederalW ire Fraud:
             W irefraud isafederalcrimeunder18U.S.C.j 1343.ltinvolvesusing wire,radio,
             television,orotherelectronic com m unication to com m itafraudulentschem e  .

             ConstitutionalProtection:
             TheFifthAm endm entto theConstitution protectsindividualsfrom being prosecuted
             forseriousfederalcrimeswithoutfirstbeing indictedby agrandjury.This
             requirem enthelpsensurethatthegovernm enthasa strong casebeforeproceeding
             w ith a crim inaltrial.
'

    22.In M orison VtCoddington,662 F.2d.155,135Ariz.480 (1983)('Vraudand deceit
      may arisek om silencewherethereisalz/f.ptospeakthetruth,aswellask om
      speaking theuntruth.'rJLouisvilleVtM otley,211U.S.149,29 S.Ct.42(Llfany
      tribunalfndsabsenceofproofçfjurisdiction overaperson andsubject-mattez the
      casemustbedismissed theaccuserbearstheburdenofproofbeyond areakonable
      doubt.').Thiscourthasneverpr'ovenorstated itsjurisdiction ontherecord ibrthe
      record,withoutfirstestablishingjurisdictionthecasewarrantsdismissal.
    23 Petitionerdefines:Gil7raud upon the court'':EçW hich m akesvoid the ordersand
     .
         *


         judgmentsofthatcourt.ltisalso clearandwell-settledIllinois1aw thatany attemptto
         Jcom m it''fraud upon thecourt''vitiatesthe entireproceeding.ThePeople ofthe State
     Case 9:25-cv-80521-RLR Document 11 Entered on FLSD Docket 05/08/2025 Page 15 of 52




     oflllinoisv.FredE.Sterling,357111.354;192N .E.229(1934)(''Themaxim that
     gaud vitiateseverytransactionintowhich itentersappliestojudgm entsaswellasto
     èontractsandothertransactions.'');AllenF.M oorev.StanleyF.Sievers,336 111.316;
     168N .E.259(1929)(''Themaxim thatgaudvitiateseverytransaction intowhich it
     enters...'');lnreVillageofWiilowbrook,37I11.App.2d393(1962)(''ltisaxiomatic
     thatfliudvitiateseverything.'');Dunham v.Dunham ,57l1l.App.475(1894),ao rmed
      162 111.589(1896);Skelly Oi1Co.v.UniversalOi1ProductsCo.,338ll1.App.79,86
     N .E.2d 875,883-4 (1949);ThomasStaselv.TheAmericanHom eSecurity
            .



     Corporation,362111.350;:199N.E.798(1935).UnderlllinoisandFederalljw,when
 %
     any ofticerofthecourthascommitted ''fraud uponthecourt'',theordersandjudgment
     ofthatcourtarevoid,ofno legalforce oreffect.
     lfjurisdictionisnotalleged in theproceedings,thenjudgementand decreesare
     erroneous,and m ay beupon writoferrorbe reversed forthatcause.The Judge never
     Jstatedupon therecord thecourt'sjurisdiction.Thus,allordersarenullandvoid.See
     10 W heat,Page 199.See also,Skillern'sExecutorsV.M ay'sExecutors,10 U SC 267,
     6 Cranch 267,3 L.Ed.G rand July M inutes G rand Jury M inutes Grand Jury M inutes
     Grand Jury M ilw tesGrand Jury M inutesGrand Jury M inutesGrand Jury M inutes

24.U.S.Bank,GMAC,DeutscheBank,J.E Morgan,andHSBC areallForeignBanksownedby China
     and Germ any and Conspired with theseForeign Banksto circumventFederalLAW Sby buying
     American Banksputthem outfrontthenbribeJudgesbygivingthem Moneyasshowninthe
     Judge'sfinancialAffidavitsseenin 2ndcauseofActiontoruleintheBanks favor usingLawyers
     paid offbythem to Forecloseand EvictAm erican CitizensoutoftheirHom esillegallyw ithout
     beingDetected by theFedsin Violation 12 U.S.C.632.THESE BANKSARE ALL FOREJGN BANKS
     OW NED BY CHINA AND GERM ANY AND AS A FOREIGN BA NKS FEDERAL LAW 12 US.C.1432b,
 4                                                                                '




                                   R ELIEF SO U G H T
zsépetitionerisbeing forced to trialwithoutbeing provided with discovery requestsand
     production ofgrandjurywarrantswandindictments,arequestwasmadeandno
     response by the courtsforrequestsw hich deprive the petitionerofdue process
     because he canriotretrieve evidence to exonerate him selfin a tim ely m arm erto
     preventm alicious prosecution.The evidence isthe U .S.D istrictCourtC lerk official
     video recording wherearequestwasm ade to geta copy ofthe transcriptforahearing
     i     Case 9:25-cv-80521-RLR
                          ,       Document 11 Entered on FLSD Docket 05/08/2025 Page 16 of 52




               forappellaterekiew andthejudgeand clerk ofcourthasdeniedthevideoandor
               recordings transcriptand interfered w ith the process.V iolating 18 U .S.C .2076 and
!              18 U       .
                                                                                                      p
                      S.
                      .
                       .C.1701,SeeAlso Griflth V.Illinois,351U.S.12 (1956)Petitionerhasa              ,
                                                                                                      i
               righttobegivenacopyoftranscriptforappellatereview.lfatanytimeacopyhasa                 17
          * fee accessed the reason forthe fée shallbe noticed to the D efendantand the iim ely
            effortm ade to provide them w ith transcriptonce paym entisrendered.                           .
         z6.petitioner also seeks additionalw itnesses thatw illprovide testim ony and sw orn         ;
I           statem ents asto the unlgw fulchargesagainsthim .                                         '
:
,        27;Alfred Davissoughtissuanceforninjunction duetonon-compliancewiththe1aw by                 q
            courtsanditsagents.Therequestforlssueofinjunctionwasm adeinthebestinterest
               ofthe publicto protecttherightsofA lfred D avisin the follow ing:
     t . tlavethecourts'totimely retrievethetranscriptsapdhearingtranscriptrequests
         im m ediately and ensure the courtcosts are m et.
     -
       * H ave the courtstay the trialuntilthey provide A lged D avis w ith a copy ofthe G rand
               JuryWarrantandTheGrand JuryIndictmentandtheM inutesofeach.InAccordance
            with Rgle6 & Rule 7 O ffederalRulesofCrim inalProcedure.Bonding inform ation,
            Probation Contract,TrueBill,and BillofAttainder.
         * Provide A lfred D avis w ith fulldiscovery requests.To W it.B id Bond inform vtion,
:         *
            Bonding inform ation,Probation 'Contract,True Bill,and B illofA ttainder. -
         * Review theEvidenceandlnjuredParty DeNovo.                                                       .
         * Enforce com pliancew ith HonorablePresidentDonald Trtlm p Executive Order#301
            Title 3 EN D IN G W eaponization ofthe FederalG overnm ent.The D epartm entof
           rlustice m ustactto investigatethe weaponization offederalgovernm entagentsand
            officers.
         @ Enforce com pliance w ith the False Claim sA ctby having the D epartm entofJustice
     t         1nvestigatethefalseclaim stiled againstAlfredDavis.See31U.S.C.Sections3729-
         3722.
     - @ Stay trialuntilthe case num ber is investigated by the D epartm entofJustice and other
           authoritiesaslisted in the executive orderand False Claim sA ct.
         * The afqrem entioned willbein thebestinterestofthepublic and w illprotectA lfred
           D àvis from deprivation and conspiracy againstrights in causing him irreparable harm
i'
l              bywayofmaliciousprosecutionforgovernmentalweaponizationoffederalyaw.
.
         ** AlfredDavisrespectfully requestsanemergency hearing onthisinjunction./lease
               schedule the hearing and subpoena a11parties.                                               .

                  10 IPage
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            Case 9:25-cv-80521-RLR Document 11 Entered on FLSD Docket 05/08/2025 Page 17 of 52




    * Judge violated his oath of office 5 U .S.C .3331,he practiced 1aw from the bench 28
       U .S.C .454,and failed to reportthe crim inalacts and deprivation ofrights see l8
       U .S.C.2382 and 18 U .S.C.4.
    * fludge violated the C anon Code ofConductRule 1 & Rule 3.
    * Allof these ./I;##e.
                         ç includinz FederalJudze M artinez Consnired to do Orzanized

1           kraud on ourpr/per/pand thevallhavemonevconm ctsofinterestwith FtN.Bank

            as noted in this docum ent Exactlv like the 131 Federal Judzes found eldl/p of

            fba/licts ofInterestLawvers found Gi //p ofForzinz Judze%'Orders.Exh.(73) .
            -- - --




            Exh.(72)an d seeto see JudzesfoundzuiltvofConflicts ofIofnterestnow wc are at
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            ourR elease on B ond and case should beD ism issed
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    * These are theRecusalofalltheJudzes thatRecused themselvesbecause thevhave a

            Conflict ofInterestExh.(K)1-7

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                                                  O ath and A ffirm ation
                      U nderJuratthis declaration affidavithas been read and a11facts stated herein
                      are true and correctto the bestofm y know ledge.Executed this 5tbday of
                      M ay 2025.                                                   C
                                                            Sincerely,

        *




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                      StateofFlorida           )                         JURAT
                                               )ss:
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             Case 9:25-cv-80521-RLR Document 11 Entered on FLSD Docket 05/08/2025 Page 18 of 52




                      County ofM iami-Dade )
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     -                O n this      day of                   ,2025,personally appeared before m e
                      A lfred D avis w ho stated thathe isthisperson as proved by identification and
                      acknow ledged said instrum entto be its voluntary actand deed.Subscribed
                      and sw orn before m e:
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                 Case 9:25-cv-80521-RLR Document 11 Entered on FLSD Docket 05/08/2025 Page 19 of 52
                     Casel:24-cr-20O51-JEM ,Document62 EnteredOnFLSD Docket06/24/2024 jage1Of66
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                                                                           Exh.A pg.l             1
                       1                     UN ITED STATES DISTRICT COURT         '
                                             SOUTHERN D ISTRICT OF FLORIDA
I                      2                             HIAHI DIV ISION
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                                               CASE N0 . 24 -cr -20051 -JEH
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i                      4    UN IT ED STA TES OF AHERICA ,         Kiami, Florida                          i
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    '
                       5                      Plaintiff ,         nay 15, 2024
                                                                                                      1
:                      6         vs .                             10 :43 a .m . - 2 :17 p .m .

                       7    A LFRED LENORIS DAVIS ,               Volume 2
                       8                      Defendant .         Pages 1 to 66
.                      9
                                         t     TRA NSCRIPT O F JURY TRIA L     v
                      10                BEFORE THE HONORABLE JOSE E . HARTINEZ
             .                               UNITED STATES DISTRICT JUDGE
.
                      11                                                                                      .
                      12    APPEA RANCES :
                      13     F0R THE GOVERNRENT :       JONATHAN BAILYN , ESQ .
                                                        UNITED STATES ATTORNEY 'S OFFICE
                      14                                99 NE 4th Street
                                                        H iam i , Florida 33132
                      15
    ,,
                 '                                      KATIE u . SADLO , ESQ .
                      16                                UNITED STATES XTTORNEY'S OFFICE
                                                        500 south Australian Avenue
         '
                      17                                suite 400
                                                        West Palm Beach , Florida 33401
                      1a
                             F0R THE DEFENDANT :        ZELJKA BOZANIC , ESQ .
                      19                                BOZANIC LAW , P .A .
                                                        17100 Royal Palm Blvd .
'
                      20                 t
                                                        Suite 1
                                                        W eston , Flo rida 33326       ?  .



                      2j                                                               '
             *                                          HUKBERTO DOKINGUEZ        ESQ .
                      22                                uAw OFFICE OF HUMBiRTO R. DOHINGUEZ                   '
                                                        150 west Flagler street
                       23                               suite 2900
                                                        n iam i , Florida 33130
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                                   STENOGRAPHICALLY REPORTED COKPUTER-AIDED TRANSCRIPT
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                     Case 9:25-cv-80521-RLR Document 11 Entered on FLSD Docket 05/08/2025 Page 20 of 52
                         C ase 1:24-cr-20O51-JEM Docum ent62 Entered On FLSD Docket06/24/2024 Page 64 of66
                                                                                     E xh.A pg.2         94

        '                   1                 THE COURT :    I 'm not sure .     I think there 's
'
                            2    enough issue in this case that I think 1'11 1et him out

'                           3' untilj at the very least, until sentencing.                                    l
    I
                            4                 So I w ill pe rmit you to remain on bond under

.                           5    the same te rms and co nditions that you have been up to
                                               :
                            6    this time. But, Hr. Davis, don't 1et me down bë'
                                                                                cause 1'm :   ,
                                                                                                              :
                 *
                            7    trusting yo u .    We w ill talk again .
'                           8                 Do we have a date for sentencing?
                            9                 COURTROOK DEPUTY :      Yes, Judge .     The sentencing

                           10    date is Thursday , July 11th at 11 :00 a.m.
                           11                 THE COURT : A11 right . At this point , 1'11
        :*                            .

                           12    refer you to the U .S . Probation office for the
                           13    preparation o f a sentencing memo randum .           And cooperate
                           14    with them . They 'll tell you where to be .            Failure to
                           15    show up is a sèparate crime and a very serious one ,
'
                           16    sometimes more serious than ihe underlying crime. so you
                                               t                                              h
                           17    must show up at the various times that you 're to'ld to .
                 *

                           18                 Talk to the probation office people .            Help them          '
                           19    prepare your presentence investigation . And we 'll see

                           20    you back here on Thursday , July 11th -
                           21                 At What time?

                     .     22                 COURTROO: DEPUTY :       11:00 a.m .
                           23                 THE COURT :     -   11 :00 a .m . here in this courtroom,
             .
                           24     a11 right?
                            25                we will in recess pn this matter. 1,11 get you

                                          STENOGRAPHICALLY REPORTED COHPUTER -AIDED TRANSCRIPT
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Case 9:25-cv-80521-RLR Document 11 Entered on FLSD Docket 05/08/2025
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                                                                     Page 21 of 52
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                                                        E xh.A pg.3           ee
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                               C E R T I F I C A T E
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    3                                                                              l
                                                                                   I
    4                 I certify that the foregoing pages éepresent a
    5       t rue and co rrect transcript pf the above -styled
                                                                                   I
    6 proceedings as reported on the date,time,and location I
    7       listed.
                                                                                   1
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    8

    9                 I fuether certify that I am neither counsel                  ;
   1t       for, related to, nor employed by any of the parties to
   11       the action in which this hearing was reported , and
   12       further that I am not financia lly nor otherw ise
                       J
                                                                    k.
   13       interested in the outcome of the above-entitled 'matter.

   14
   15
            DATE : 6/24/24   /s/iary Ann Casale , RDR , FPR-C , CLR, CSR-IL
   16                        o fficial Court Repo rte r
                             United States District Court
   17                        Southern District of Florida
                             400 North Kiami Avenue
   18                        Hiami, Florida 33128
                             HaryAnn casaleeflsd .uscourts.gov
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                  STENOGRAPHICALLY REPORTED COHPUTER-AIDED TRANSCRIPT
     Case 9:25-cv-80521-RLR Document 11 Entered on FLSD Docket 05/08/2025 Page 22 of 52



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        Case 9:25-cv-80521-RLR Document 11 Entered on FLSD Docket 05/08/2025 Page 23 of 52



                                                                 EX H .B pg.2




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Case 9:25-cv-80521-RLR Document 11 Entered on FLSD Docket 05/08/2025 Page 24 of 52




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    Case 9:25-cv-80521-RLR Document 11 Entered on FLSD Docket 05/08/2025 Page 25 of 52



                                                             E X H .B pg.4
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Case 9:25-cv-80521-RLR Document 11 Entered on FLSD Docket 05/08/2025 Page 26 of 52



                                                         E X H .B pg.5
    Case 9:25-cv-80521-RLR Document 11 Entered on FLSD Docket 05/08/2025 Page 27 of 52



                                                             E X H .B pg.6




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    Case 9:25-cv-80521-RLR Document 11 Entered on FLSD Docket 05/08/2025 Page 28 of 52
       case 1:24-cr-20456-JB Docum ent1 Entered On FLSD Docket10/15/2024 Page 1 Of8
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       Case 1:24-cr-20456-JB Document1 Entered on FLSD Docket10/15/2024 Page 3 Of8
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    Case 9:25-cv-80521-RLR Document 11 Entered on FLSD Docket 05/08/2025 Page 31 of 52
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None

 NamesofCongressionalCommitteesConsidering Nomination:
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     Case 9:25-cv-80521-RLR Document 11 Entered on FLSD Docket 05/08/2025 Page 35 of 52
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3.Filer's Em ploym entAgreem ents and Arrangem ents
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    13        Brokerage Account                                                                                   No
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  Case 9:25-cv-80521-RLR Document 11 Entered on FLSD Docket 05/08/2025 Page 37 of 52



                                     UNITED STATES DISTRICT CO URT             E xh.E pg.l
                                     SOUTHERN DISTRICT OF FLORIDA



       UNITED STATESoyivsltlcA
       Plaintiff

                                                               CASEN0:24-CR-20456-J8
       V.

      A LFRED DA VIS
      Defendants,




                   M QTIQN AND AFFIDAVIT FOR RELIEF,RECUSAL,VACATION OFORDERSAND
                                          M EM O RANDUM OF LAW


   PursuanttoFloridaStat.112.131,FloridaRule2.160(H)andFederalRulesofCivilProcedureRule60,
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   DefendantAlfredDavisherebyfilesthisMotion forRelief& Recusaland Supporting Mbinorandum
* regarding the Ntmx'
                    t'
                     7fn4ludgeJaquelineBaccarrareview oftherecordandFinalJudgementOrder,Exhibit.l.
   basedonthefollowingfacts,new information,justterms,judicialmisconduct,fraudulentgroundsand        l
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   discoveredconflictofpersonalinvestmentinterestsonFinancialDisclosuresofJudgesand officersofthis   !
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   Court(Exhibits#B) Attachedu.s.BANK SpecialSituation PropertyFunds AccountPage42,IFRS 2018 1
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   Tables9-13.SEC Filings-U.S.BANK FloridaSubsidiaries,JudgeJaquelineBaccarraFinanciallnterests&
   PropertyDisclosmes).

   FloridaRule2.160(H )Savs,4 Judzemav Vaeate/IC.
                                                CordersforConflictofInterestTheodoreR.Bundv P:
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    JudgeJaqueline Baccàrra mustRecuse herselfforan open obviousConflictofInterestbektause he's
* doing businesswith BankofAmerica and helpingthem to make money so thatshe can make money
   byforeclosingandtaking(stealing)ourpropertywhileactin'
                                                        gastheJudgeonthecaseonourproperty,
   noton case'sM eritsbutforto make him and them moneyIllegally.Here'sproof.
    Case 9:25-cv-80521-RLR Document 11 Entered on FLSD Docket 05/08/2025 Page 38 of 52



                                                                               Exh.E #g.2

    Com esnow Alfred D avis acting Pro-se here statesJudge Jaqueline Baccarra,saysthatBankOfAm erica on .
    herform 6 Fulland Public Disclosure OfFinanciallnterestsisa Bankdoing Businesswith US Bankbecause
    she's doing businessw ith US BANK and helping them to make m oney so that she can m ake m oney by
    foreclosing and taking ourproperty w hile acting astheJudge tp take the property noton hisM eritsbutfor
    to m ake him and them m oney Illegplly. Herelsproofthat,Judge Jaqueline Baccarra isdoing businessw ith
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    BankpfAmericaasseeninhisFORM 6page4Iines2 intheamountof$100,000EXh.AW hichisUSBancorq!
    Exh.B pg.l and pg.2 because both bankshave Shareswith Ally Financialaccording to Fintel'sstock chart.
    She alsö hasa ConflictofInterestwithAmericanExpresswhich isU.S.Bankintheamountof$50,000on Iine
    10,.W hich isa majorConflict/oflnterest.W ho hehasruled infavorof,EXH.F.ThatisaConflictofInterest
    againstusand there's m ore.lhave found thatourcase w asdirected to herin this Pool,So she m ustrecuse
*
    herselfand vacate hisOrder,Exhibit,G.So Judge Jaqueline Baccarra you m ust Recuse YOUR SELFand
    VACATEYOUR ORDER againstus,EXH.1.



                                             FACTUAL BACKGRO UND



        I.On* .% ,= 4,DefendantJudgelaqueline Baccarrai%ued ainalJucknentorderExh.A against
        DefendantAlfred Davisforamo'untsdue and ow ing on sam e m ortgage thatw asdism issed w ith
        Prejudiceinformercaseno:07-12407CA01where DEUTSCHEBANK could neverproducethe
        prom issory Note though they were asked by the Judge severaltim esbutneverdid bring it
        forth,Exhibit.1.A iudae cannotchange anotherJudae'sORDER!And al
                                                                      so on M ard1261,m 19,Judge
        JaquelineBaccarraissued'aJudgmentorderacting asaquasi-defense attorneyforDEUTJCHE
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        BANKhispersonalinvestmentPartnertomakemoneytogether.PlaintiffJAMESBUCKQAN has
        now subsequentlyprovidedtheUnitedStatesDepartmentofJustice(DOJ)onspecificnewlv
        discovered whistle blowerinform ation and records regarding m illions ofdollarsin exposed
        fraudulentforeclosure claim s m ade bythe Defendants DEUTSCHE BANK,Clerksand Court
        officers in thisaction.Exhibit,0.



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            Case 9:25-cv-80521-RLR Document 11 Entered on FLSD Docket 05/08/2025 Page 39 of 52
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 Page 4 of6                                                                                              Becerra,Jacqueline                                                               0r15/2()%

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2. BankofAmerica(cash)                                                                 A         Interest          L           T

3. Account#1(H)

4. Brighthouse6YearShield 15S&P 500                                                               None             N           T
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5. Brighthouse6YearShield25S&P 500                                                                None             N           T
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6               Account#2(H)                                                                                                                                                                                1
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7. AmericanFunds-TheIncomeFundof                                                       A        Dividend           J           T
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9. Account#3(H)

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              Case 9:25-cv-80521-RLR Document 11 Entered on FLSD Docket 05/08/2025 Page 42 of 52




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               Case 9:25-cv-80521-RLR Document 11 Entered on FLSD Docket 05/08/2025 Page 43 of 52




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Case 9:25-cv-80521-RLR Document 11 Entered on FLSD Docket 05/08/2025 Page 48 of 52


   IM AURICESYM ONEU E heard and Saw M icahielNicholson geta callby Cellphone

  from FBlAgentAdam weinstein and he said thisisAdam W einstein from the FBl

  and Iam Investigating the Jan 6tbInsurrection incidentand then FBIAgentAdam

  W einstein asked to speak w ith m e and he told m e thathe w asinvestigating the

  Jan 6thinsurrection incidentthen they asked m e did M e and the BlacksforTrum p

   Brother'sgo inside the U.S.Capitoland Isaid no,butIdid do a Speech on stage

   outside the Capitol.Then they said there'snothing w e can do aIlw e w anted to

   know is ifyou w entinto the Capitol,you said no so there's nothing w e can do

   aboutthat M ichael.


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   I Attest to all facts being true and correct to the best of my lœ owledge in
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Case 9:25-cv-80521-RLR Document 11 Entered on FLSD Docket 05/08/2025 Page 49 of 52


  lM ICAHIELNICHLOSON W asCalled by Cellphone by FBlAgentAdam weinstein

  and he said he w as Adam w einstein from the FBIand lam Investigating the Jan 61b

  Insurrection incidentand then they ask to speakto M ichaelAKA M aurice

  Sym onette the FBIAgentW einstein told him thathe w as investigating the )an.61b

  insurrection incidentthen they asked M aurice Sym onette did he and the Brothers

  go inside the U.S.Capitoland M auricesaid no,butldid a Speech on stage outside

  the Capitol.Then they said there'snothing we can do aIIwe wanted to know isif

  you wentinto the Capitol,you said no so there nothingcan do aboutthatM ichael.



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Case 9:25-cv-80521-RLR Document 11 Entered on FLSD Docket 05/08/2025 Page 52 of 52
